Case 23-11452-pmm   Doc 1   Filed 05/17/23 Entered 05/17/23 17:42:55   Desc Main
                            Document     Page 1 of 5
Case 23-11452-pmm   Doc 1   Filed 05/17/23 Entered 05/17/23 17:42:55   Desc Main
                            Document     Page 2 of 5
Case 23-11452-pmm   Doc 1   Filed 05/17/23 Entered 05/17/23 17:42:55   Desc Main
                            Document     Page 3 of 5
Case 23-11452-pmm   Doc 1   Filed 05/17/23 Entered 05/17/23 17:42:55   Desc Main
                            Document     Page 4 of 5
Case 23-11452-pmm   Doc 1   Filed 05/17/23 Entered 05/17/23 17:42:55   Desc Main
                            Document     Page 5 of 5
